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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                    BOSTON DIVISION


Typemock, LTD.,

                 Plaintiff,
                                            Case No.: 1:17-cv-10274-RGS
        v.

Telerik, Inc.,                              JURY TRIAL DEMANDED

                 Defendant.




    DEFENDANT TELERIK, INC.’S OPENING CLAIM CONSTRUCTION BRIEF
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I.     THE PARTIES AND THE ASSERTED PATENTS

       Plaintiff Typemock, an Israeli-based company, has asserted two related patents, U.S.

Patent No. 8,352,923 (the “’923 patent,” Ex. A 1), and U.S. Patent No. 9,251,041 (the “’041

patent,” Ex. B) (collectively, the “Asserted Patents”), both entitled “Method and Systems for

Isolating Software Components.” The two patents claim priority to a provisional patent

application filed on September 25, 2006. The ’923 patent issued on issued on January 8, 2013,

and the ’041 patent, which is a continuation of the ’923 patent, issued on February 2, 2016. Both

patents share a substantially identical specification.

        Typemock’s patents relate generally to “validating software,” which is the testing of

software components as they are developed or during interim stages of development. The

specification notes that testing can involve “faking” objects or complete sets of APIs

(Application Program Interfaces) and then validating the arguments that are passed to, for
                                                    2
example, the fake object. ’923 patent at 2:5–28.         The claims, in turn, recite systems that

include, among other things, (1) an apparatus for at least partially isolating some aspect of the

software application and (2) an apparatus for testing some aspect of the software application.

See, e.g., id. at claim 1; see also Ex. C, Declaration of Alessandro Orso (“Orso Decl.”), ¶ 11.

        Defendant Telerik is a wholly-owned subsidiary of Massachusetts-based Progress

Software. The accused product, Telerik’s JustMock, is available as part of Telerik’s DevCraft

platform, a toolkit including .NET and JavaScript components and tools for the development and

testing of modern and high-performance applications. DevCraft is available in multiple versions,

each of which bundles several products together, dependent on a user’s needs. Users most
1
  All exhibits are attached to the Declaration of James R. Anderson, filed concurrently herewith.
2
  The ’041 patent is a continuation of the ’923 patent, and the specifications are substantially
identical. Where appropriate, e.g., where a claim term is in both patents, citations to portions of
one of the Asserted Patents should be interpreted to incorporate corresponding portions of the
other Asserted Patent.
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commonly receive access to Telerik’s JustMock product along with purchase of a DevCraft

bundle.

          JustMock is a fully-featured mocking framework that is designed to permit fast and

flexible unit testing with private mocking capabilities. JustMock provides a single easy-to-use

API, which presents a user with only those options that are relevant in the current mocking

context and allows for natural expression of mocking concepts. JustMock’s intuitive user

interface makes mocking easy even for beginners.

II.       LEGAL STANDARDS

          1.     General Claim Construction Principles

          A patentee’s right to exclude others from practicing its invention is limited by the scope

of the patent’s claims. Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005). The

purpose of the claim construction process, then, is to establish the meaning and scope of the

asserted claims before the case is sent to the jury. O2 Micro Int’l Ltd. v. Beyond Innovation

Tech. Co., Ltd., 521 F.3d 1351, 1360 (Fed. Cir. 2008). In so doing, the Court provides the jury

with guidance on the meanings of the disputed claim terms so that it “will be able to

‘intelligently determine the questions presented’” during the trial. Sulzer Textil A.G. v. Picanol

N.V., 358 F.3d 1356, 1366 (Fed. Cir. 2004)(quoting Shad v. Dean Witter Reynolds, Inc., 799

F.2d 525, 532 (9th Cir. 1986)).

          The intrinsic record is the touchstone for any claim construction dispute. Phillips, 415

F.3d at 1313–14 (Fed. Cir. 2005). The specification, of which the claims are a part, “is the single

best guide to the meaning of a disputed term.” Vitronics Corp. v. Conceptronic, Inc., 90 F.3d

1576, 1582 (Fed. Cir. 1996). While courts are permitted to refer to extrinsic evidence, such as

expert testimony, such evidence is “less significant than the intrinsic record.” Phillips, 415 F.3d

at 1317.

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       Where a claim does not particularly point out and distinctly claim the subject matter that

the applicant regards as his or her invention, the claim is indefinite. 35 U.S.C. § 112, ¶ 2. A

claim is indefinite where a person of ordinary skill in the art would not be informed about the

scope of the invention with reasonable certainty. Nautilus, Inc. v. Biosig Instruments, Inc., 134

S.Ct. 2120, 2124 (2014).

       2.      Functional Claiming and 35 U.S.C. § 112, ¶ 6

       A patentee is permitted to stake the bounds of his invention using what is known as

“means-plus-function” claiming:

             An element in a claim for a combination may be expressed as a means
             or step for performing a specified function without the recital of
             structure, material, or acts in support thereof, and such claim shall be
             construed to cover the corresponding structure, material, or acts
             described in the specification and equivalents thereof.

35 U.S.C. § 112, ¶ 6. “In exchange for using this form of claiming, the patent specification must

disclose with sufficient particularity the corresponding structure for performing the claimed

function and clearly link that structure to the function.” Triton Tech. of Tex., LLC v. Nintendo of

Am., Inc., 753 F.3d 1375, 1378 (Fed. Cir. 2014). While a patentee’s choice to use a word other

than “means” creates a rebuttable presumption that § 112, ¶ 6 does not apply, claims reciting

function by using “nonce words,” such as “module,” “mechanism,” and “device,” also rarely

connote definite structure and should generally be afforded means-plus-function treatment.

Williamson v. Citrix Online, LLC, 792 F.3d 1339, 1350 (Fed. Cir. 2015) (quoting Watts v. XL

Sys., Inc., 232 F.3d 877, 880 (Fed. Cir. 2000)).

       When construing a means-plus-function term, the court must: (1) “identify the claimed

function,” then (2) “determine what structure, if any, disclosed in the specification corresponds

to the claimed function.” Williamson, 792 F.3d at 1351. If multiple functions are claimed, the

patentee must have described adequate structure for each function. Id. at 1351–52. And, if

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adequate corresponding structure to achieve the corresponding claimed function is not disclosed

in such a manner that would be understandable to a person of ordinary skill in the art, the means-

plus-function term is indefinite. Id. at 1352.

III.    ARGUMENT

        Although Plaintiff Typemock is expected to argue that its patents are broad, it in fact did

not invent validating software. More importantly, by the time Typemock filed the provisional

application to which its two patents claim priority, Typemock had been selling products using

the patented technology for over a year, including at least one sale on August 3, 2005 to a

company based in the United States. Those sales invalidate its patents. Indeed, after Telerik

pointed those early sales out to Typemock early in this case, Typemock dropped the independent

claims from this case. 3

        While Typemock has dropped all of the independent claims from the case, the remaining

dependent claims are all based on those invalid independent claims, which continue to form the

bases of Typemock’s infringement case. As a result, many of the claim terms that require

construction are found within the independent claims.

        1.        The Asserted Claims are Indefinite For Failing to Recite Structure
                  Corresponding to Claimed Functions, and are Therefore Invalid Under
                  35 U.S.C. § 112.

        The asserted claims are indefinite, and therefore invalid, because they do not provide

reasonable certainty as to the scope of the claims. Specifically, with reference to exemplary

claim 1 of the ’923 patent and exemplary claim 1 of the ’041 patent, the following bolded terms
                  4
are indefinite:


3
  Telerik will be moving for summary judgment of invalidity under 35 USC § 102, with respect
to the asserted claims, after the claim construction process and confirmatory discovery.
4
  Common terms in both patent claims are given the same [bracketed number], for ease in
following the arguments in the brief, below.
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                                      ’923 Patent, Claim 1
           A software testing system operative to test a software application comprising
       a plurality of software components, at least some of which are [1] coupled in a [2]
       utilizing-utilized relationship the system comprising:
       a processor and memory:
   [3] computational apparatus for [4] at least partially isolating, from within the
       software application, at least one coupled software component which performs a
       given function by introducing, prior to execution, [5] code elements for runtime
       access of [6] application points associated with the at least one coupled software
       component, wherein at least one code element associated with the at least one
       coupled software component provides access control between utilizing-utilized
       software components;
   [3] computational apparatus for testing the software application by imposing a
       fake behavior on the at least one coupled software component, wherein imposing
       includes removing or replacing an [7] expected behavior of the at least one
       coupled software component during runtime; and wherein the at least one code
       element is operative to query said computational apparatus for testing.

                                      ’041 Patent, Claim 1
           A system for providing testing for a given software application comprising a
       plurality of software components, at least some of which are [1] coupled, said
       system comprising:
       [8] a first processor functionally associated with a digital memory, which digital
       memory stores processor executable software testing code adapted to cause [8]
       one or more second processors to:
   [4] at least partially isolate from within the given software application, during
       runtime, at least one coupled software component which performs a given
       function by introducing, prior to execution of the software application, [5] code
       elements for runtime access of [6] application points associated with the at
       least one coupled component of the given software application, such that at least
       one of the introduced code elements provides the software testing code access
       between [2] utilizing-utilized software components during runtime; and
   test, by use of the second processors running the testing code, the given software
       application by imposing a fake behavior on the at least one coupled software
       component, wherein imposing behavior includes removing or replacing an
       expected behavior of the at least one coupled software component, during
       runtime, by use of the access provided by the at least one of the introduced code
       elements.

       The terms discussed in Section III.1.A–E below are what is known as “means-plus-

function” terms, as they recite only “nonce” terms—terms that do not describe definite

structure—that perform specified functions. The terms render the claim invalid as indefinite,

because the patent fails to disclose any structure that corresponds to the recited functions.

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       A.      “computational apparatus . . . ” (’923 patent, claims 1, 30; ’041 patent,
               claim 9) 5

       The term “computational apparatus” is the cornerstone of independent claims 1 and 30 of

the ’923 patent and independent claim 9 of the ’041 patent. Those claims, and many of the

claims that depend from them, are written as a series of functions (identified in the footnote

below 6) that are performed by one or another associated “computational apparatus” “for”

performing those functions. Orso Decl. ¶ 13.

       “Computational apparatus” is a classic “nonce” term, as “[t]he word ‘apparatus’ does not

provide any indication of structure ‘because it sets forth the same black box recitation of

structure for providing the same specified function as if the term “means” had been used.’”
5
   Citation to particular claims in section headings is intended to be for reference purposes only,
and generally refers to the first occurrence of the claim term being discussed. For the avoidance
of doubt, where, for example, a claim term first appears in an independent claim and appears
later in dependent claims, Telerik’s contention is that the term should be afforded the same
construction.
6
  “computational apparatus for at least partially isolating . . . ”
’923 patent, claims 1, 30: “at least partially isolating, from within the software application, at
least one coupled software component which performs a given function by introducing, prior to
execution, code elements”
“computational apparatus for testing . . . ”
’923 patent, claim 1: “testing the software application by imposing a fake behavior on the at least
one coupled software component, wherein imposing includes removing or replacing an expected
behavior of the at least one coupled software component during runtime”
’923 patent, claim 30 “testing the software application by removing or replacing a behavior of at
least said at least partially isolated coupled software component during runtime, without
dependency injection, wherein said apparatus for testing is operative to generate a plurality of
expectations each of which comprises an identity of an individual component from among the
plurality of software components and an associated behavior inducing message inducing said
apparatus for at least partially isolating, when said individual component is called, to selectively
at least partially isolate, and to impose a fake behavior upon, the individual component”
“computational apparatus . . . ”
’041 patent, claim 9: [A] “at least partially isolating from within the software application . . .
running a testing application, during runtime at least one coupled software component which
performs a given function by introducing into the software application, code elements” [and] [B]
“testing . . . the software application by imposing a fake behavior on the at least one coupled
software component, wherein imposing behavior includes removing or replacing an expected
behavior of the at least one coupled software component, during runtime, by use of the access
provided by the at least one of the introduced code elements”
                                                 6
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Chamberlain Grp., Inc. v. Techtronic Indus. Co., Ltd., No. 16-cv-06097, 2017 WL 1304559, at

*23 (N.D. Ill. Apr. 7, 2017) (quoting Williamson, 792 F.3d at 148–49). Because the claims recite

a function tied only to this “nonce” term, they require construction as a “means plus function”

term under 35 U.S.C. § 112.

       The first step in construing a means-plus-function term is identification of the claimed

function. Williamson, 792 F.3d at 1351. Each independent claim of the ’923 patent requires two

separate computational apparatuses, one for, as recited in footnote 5, above, “at least partially

isolating” and a second for, among other things, “testing the software application.” Orso Decl.

¶ 13. The dependent claims add additional functions that are to be performed by either the

“computational apparatus for at least partially isolating” or the “computational apparatus for

testing,” and any identified structure must also be associated, to a person of ordinary skill int eha

rt, with those functions in the dependent claims as well. Compare, e.g., ’923 patent claim 10

with claim 18. In addition, the claims of the ’923 patent also recite, as separate components, a

processor and memory, which the claim language does not tie to either of the two recited

“computational apparatus[es].”

       The ’041 patent also uses means-plus-function “computational apparatus” language, but

in contrast to the term’s use in the ’923 patent, refers to only a single “computational apparatus.”

The result is that claim 9 of the ’041 patent recites functions including “at least partially isolating

. . . ” and “testing . . . the software application . . .,” both of which must be performed by the

single claimed “computational apparatus.” Orso Decl. ¶ 13.

       The second step in construing means-plus-function terms is to determine what structure,

if any, is disclosed in the specification that corresponds to the functions recited in the claims.

The “computational apparatus” terms fail this step, and are indefinite because the specification



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does not tie the myriad functions recited for each “computational apparatus” term to any

structural component, let alone explain how any specific structural component disclosed in the

patent performs the recited functions (Orso Decl. ¶ 14–15), as required by the second step of

construing means-plus-function terms as articulated in Williamson. 792 F.3d at 1351.

       The term “computational apparatus” does not appear in the specification at all. Outside

of the claims and abstract, the more general term, “apparatus,” appears on its own in the

specification just four times, and the description for “apparatus” highlights the total lack of

definite structure. In the Summary of the Invention, the patentee provided that

             The apparatus of the present invention may include, according to
             certain embodiments of the invention, machine readable memory
             containing or otherwise storing a program of instructions which,
             when executed by the machine, implements some or all of the
             apparatus, methods, features and functionalities of the invention
             shown and described herein. Alternatively or in addition, the
             apparatus of the present invention may include, according to certain
             embodiments of the invention, a program as above which may be
             written in any conventional programming language, and optionally a
             machine for executing the program such as but not limited to a general
             purpose computer which may optionally be configured or activated in
             accordance with the teachings of the present invention.

’923 patent at 3:19–32 (emphasis added). That description says no more than that a computer

can perform the functions described in the specifications, but does not provide any physical

structure that would be capable of performing those functions.

       The extensive functions laid out in the claims that are performed by the “computational

apparatus” suggest that the “computational apparatus” must be more than a general purpose

computer. But, at most, the specification describes only a general purpose computer that “may

be” programmed to execute the disclosed functions. That does not rise to the level of sufficiently

definite structure. See Williamson, 792 F.3d at 1352 (“[T]his court has consistently required that




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the structure disclosed in the specification be more than simply a general purpose computer or

microprocessor”); Orso Decl. ¶ 14–15.

        The only other instance of “apparatus” in the specification confirms that the patentee did

nothing more than recite function without adequate supporting structure. The specification states

that “FIG. 8 is a simplified flow diagram of a mocked method flow which may be performed by

the apparatus of FIG. 1, in accordance with certain embodiments of the present invention.” ’923

patent at 3:64–67 (emphasis added). In other words, Figure 8 depicts the function that can be

performed by the purported “apparatus” shown in Figure 1. But, the description of Figure 1

confirms that it is “a simplified functional block diagram of a software isolation system

constructed and operating in accordance with certain embodiments of the present invention.” Id.

at 3:43–45 (emphasis added). And, reference to Figure 1 shows that it is nothing more than a

collection of “black boxes,” which do not connote sufficiently definite structure. See Augme

Techs. Inc. v. Yahoo! Inc., 755 F.3d 1326, 1338 (Fed. Cir. 2014) (finding that disclosure of a

“black box” for performance of the recited function did not describe sufficiently definite

structure).

        The prosecution history of the ’923 patent confirms that the “computational apparatus”

cannot be merely computer code, but rather must be tied to physical structure. The Examiner

rejected an early version of the claim terms reciting just “apparatus,” because

              Such an ‘apparatus’ is discussed in the specification on page 4 lines
              23–25 [of the specification as-filed] as being a program, or software
              per se.     A claim that covers both statutory and non-statutory
              embodiments . . . embraces subject matter that is not eligible for
              patent protection and therefore is directed to non-statutory subject
              matter. In contrast, such a ‘system’ stored on a non-transitory
              computer readable medium would be considered to be statutory.




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Ex. D at 3 (emphasis added); see also Ex. G, Specification as-filed at 4:23–25, corresponding to

’923 patent at 3:16–19, cited above (“Alternatively or in addition, the apparatus of the present

invention may include, according to certain embodiments of the invention, a program as above

which may be written in any conventional programming language . . . . ”) (emphasis added). The

Applicant did not dispute that characterization and amended the claims to recite a

“computational apparatus” as something that purports to connote physical structure, in order to

overcome the Examiner’s § 101 rejection under prevailing law at the time. See Ex. H,

Amendment, App. No. 12/442,948 (Apr. 30, 2012), at 3, 16–17.

       The Examiner interpreted the “apparatus” terms as requiring physical structure

throughout prosecution—a characterization that the Applicant never disputed. For example, in

comparing the claims to the prior art, the Examiner noted that “the ‘apparatus’ is interpreted not

as a ‘program’ as described on page 4 lines 23–25 of the specification [as-filed], but as [prior art

reference] Avakian’s server (see paragraph [0054]), i.e. a ‘machine’ as described on page 4

lines 25–26.” Ex. D at 7 (emphasis added); see also Ex. G at 4:23–26 (“[T]he apparatus of the

present invention may include, according to certain embodiments of the invention . . . optionally

a machine for executing the program such as but not limited to a general purpose computer

which may optionally be configured or activated in accordance with the teachings of the present

invention.”) (emphasis added).

       Referring back to the specification here, in view of the prosecution history, a person of

ordinary skill in the art would not recognize any such structure that is associated with the

different specific functions recited in the claims. Orso Decl. ¶ 14–15. Because a person of

ordinary skill in the art would not be able to identify corresponding structure and, as a result, be




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unable to understand the scope of the claim, with any reasonable clarity. the claims are

indefinite.

        B.     “[8] a first processor functionally associated with a digital memory, which
               digital memory stores processor executable software testing code adapted to cause
               [8] one or more second processors to” (’041 patent, claim 1)

        Like the “computational apparatus” terms, the patentee describes a first “processor” that

performs a number of functions, and “one or more” separate second “processors” that perform a

number of different functions. 7 Typemock has indicated that it will provide no construction for

this term.

        Where a patentee claims a processor for performing given functions, those functions must

actually be performed by the processor. Typhoon Touch Techs., Inc. v. Dell, Inc., 659 F.3d 1376,

1381 (Fed. Cir. 2011) (finding that a claimed “processor for executing . . . ” requires that the

recited function be performed). It is not enough that the disclosure might disclose some general

purpose processor, without both tying that processor to the specific functions to be performed

and describing how the processor performs those functions. Williamson, 792 F.3d at 1352

(“[T]his court has consistently required that the structure disclosed in the specification be more

than simply a general purpose computer or microprocessor”).


7
   first processor: “associate with a digital memory, which digital memory stores processor
executable software testing code adapted to cause one or more second processors to [perform
recited functions]”
one or more second processors: “at least partially isolate from within the given software
application, during runtime, at least one coupled software component which performs a given
function by introducing, prior to execution of the software application, code elements for runtime
access of application points associated with the at least one coupled component of the given
software application, such that at least one of the introduced code elements provides the software
testing code access between utilizing-utilized software components during runtime; and test, by
the given software application by imposing a fake behavior on the at least one coupled software
component, wherein imposing behavior includes removing or replacing an expected behavior of
the at least one coupled software component, during runtime, by use of the access provided by
the at least one of the introduced code elements”

                                                 11
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       As with the “computational apparatus” terms, nothing in the specification ties those

functions to any structure, let alone separate structures—one for the “first processor” and others

for the “one or more second structures.” 8 Orso Decl., ¶ 16–17. Moreover, during prosecution of

the ’041 patent, the Applicant amended what would become claim 1 to recite both a “first

processor” and “one or more second processors,” in order to overcome objections from the

Examiner. Ex. I, Amendment Under the After Final Consideration Pilot Program, App. No.

13/706,711 (Aug. 23, 2015), at 2. Explaining its amendments, the Applicant noted that “pending

independent claim 21 [issued claim 1] mirrors the subject matter of allowed claim 45 [issued

claim 9], in the form of a processor + digital memory including code for causing other processors

to act upon a given code under test.” Ex. I at 11. In other words, the Applicant conceded both

that the terms required means-plus-function treatment and that they connoted physical structure.

Because the specificatino does not tie such function to each of the processors recited in the

claims in a way that would be reasonably clear to a person of ordinary skill in the art, claim 1 of

the ’041 patent is indefinite. Orso Decl., ¶ 16–17.

       C.      “apparatus for adding access controlling code . . . ” / “apparatus for
               modifying said meta-data . . . ” (’923 patent, claims 32, 48)

       Asserted dependent claims of the ’923 patent recite additional “apparatus[es]” that a

person of ordinary skill in the art would be unable to associate with any structural disclosure in

the specification. In claims 32 and 48, the “apparatus for at least partially isolating,” discussed

above, comprises a further, different, “apparatus,” which performs different functions recited in



8
  Though it refused to provide its positions throughout the claim construction process, Typemock
indicated, one hour before briefing was due, that it agreed with Telerik’s preliminarily proposed
construction for “first processor” and “one or more second processors,” which required that the
processors be “separate and distinct” from one another. Even with that agreement, the claim still
requires means-plus-function treatment and is indefinite, for reciting function untethered to
adequately disclosed structure for performing those functions.
                                                 12
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the dependent claims, as set out in the footnote below. 9 Typemock has indicated that it will

provide no construction.

        With respect to claim 32, the ’923 patent specification does not recite sufficient structure

associated with “access controlling code.” “Access controlling code” is not a term used in the

specification, and the specification provides no other sufficient guidance from which a person of

ordinary skill in the art could understand what structural disclosure, if any, to associate with the

claimed “apparatus” that inserts “access controlling code between each pair of utilizing-utilized

software components.” Orso Decl., ¶ 18–19. The lack of sufficiently disclosed structure

provides an independent reason to find claim 32 of the ’923 patent indefinite.

        For substantially the same reasons, claim 48 is indefinite for reciting the nonce term

“apparatus” without the specification disclosing any structure associated with the claimed

function. The specification fails to disclose sufficient structure for the “apparatus for at least

partially isolating,” but also fails to disclose sufficient structure for this additional “apparatus for

modifying said meta-data.” Orso Decl., ¶ 18–19. Claim 48 is therefore indefinite for this

independent reason.

        D.      “introducing, prior to execution, [5] code elements for runtime access of [6]
                application points” (’923 patent, claims 1, 30; ’041 patent, claims 1, 9)

        The “code elements” terms require means-plus-function treatment, because “element” is

a classic “nonce” term that is generic in nature and that “typically do[es] not connote sufficiently

definite structure.” The Mass. Inst. of Tech. and Elecs. for Imaging, Inc. v. Abacus Software, 462

F.3d 1344, 1354 (Fed. Cir. 2006). Typemock states that the term needs no construction.


9
 apparatus for adding access controlling code . . . ”
“adding access controlling code between each pair of utilizing-utilized software components”

“apparatus for modifying said meta-data . . . ”
“modifying said meta-data to point to access control code”
                                                   13
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        That the Applicant added the word “code” does nothing to provide a person of ordinary

skill in the art with any reasonable certainty as to specific structure. The specification therefore

must disclose structure to perform the several different functions recited in the claims, which

differ between the different claims in which the term appears, as identified in detail in the

footnote below. 10 Orso Decl., ¶ 20.

        The specification contains no reference to “code elements,” and no disclosure by which a

person of ordinary skill in the art could connect the recited functions with structure disclosed in

the specification with reasonable certainty. Orso Decl., ¶ 20. Because the term appears in all of

the asserted claims, all of the asserted claims are indefinite.

        E.      “access controlling code external of the software application for anticipating
                forthcoming utilization of utilized software components by utilizing software
                components and for selectively preventing said utilization by controlling access of
                the utilizing software component to the utilized software component” (’923
                patent, claims 9, 39)

        Claims 9 and 39 of the ’923 patent also require means-plus-function treatment, again for

reciting black box nonce “structure” that purports to be “for” performing several different

functions. Exemplary claim 9 recites:

              9. A system according to claim 1 wherein the plurality of software
              components comprises a set of at least one pairs of utilizing-utilized
              software components each including a utilized software component
10
   ’923 patent, claim 1: “runtime access of application points associated with the at least one
coupled software component, wherein at least one code element associated with the at least one
coupled software component provides access control between utilizing-utilized software
components”
’923 patent, claim 30: “runtime access and control of application points associated with the at
least one coupled software component”
’041 patent, claim 1: “runtime access of application points associated with the at least one
coupled component of the given software application, such that at least one of the introduced
code elements provides the software testing code access between utilizing-utilized software
components during runtime”
’041 patent, claim 9: “runtime access of application points associated with the at least one
coupled software component, such that at least one of the introduced code elements provides the
testing application access between utilizing-utilized software components during runtime”
                                                   14
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             and a utilizing software component which utilizes said utilized
             software component, and wherein said apparatus for at least partially
             isolating comprises access controlling code external of the software
             application for [A] anticipating forthcoming utilization of utilized
             software components by utilizing software components and for [B]
             selectively preventing said utilization by controlling access of the
             utilizing software component to the utilized software component.

       The term “access controlling code,” the “structure” identified in the claim, does not

appear in the specification at all. In spite of that, Typemock contends that no construction is

necessary.

       The specification does not provide sufficient description to link the functions of

“anticipating forthcoming utilization of utilized software components by utilizing software

components” and “selectively preventing said utilization by controlling access of the utilizing

software component to the utilized software component” to any disclosed structure that could be

identified by a person of ordinary skill in the art, so the claims are indefinite. Orso Decl., ¶ 21–

22.

       2.      The Asserted Claims are Indefinite For Failing to Recite the Purported
               Invention with Reasonable Certainty, and are Therefore Invalid Under
               35 U.S.C. § 112.

       The terms discussed in Section III.2.A–G below are also indefinite, because the patent

does not explain the meaning of the term in such a way that provides a person of ordinary skill in

the art with reasonable certainty as to the scope of the claim. See Nautilus, 134 S.Ct. at 2129.

       F.      “wherein said set comprises at least one utilizing software component” (’923
               patent, claim 4)

              Telerik’s Construction                              Plaintiff’s Construction
 Indefinite (no antecedent basis)                   the set of components that are ‘coupled in a
                                                    utilizing-utilized relationship’ as recited in
                                                    claim 1

       A claim is indefinite where a term lacks proper antecedent basis, and such basis is not

reasonably ascertainable by a person of ordinary skill in the art. Halliburton Energy Servs., Inc.

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v. M-I LLC, 514 F.3d 1244, 1249 (Fed. Cir. 2008). Here, claim 4 depends from claim 1, but

claim 1 does not recite any “set” at all. Compare ’923 patent claim 1 with claim 4. Claim 1

recites numerous elements, and nothing about the language of claims 1 or 4 would indicate to a

person of ordinary skill in the art what element or elements of claim 1 “said set” was intended to

refer back to. Orso Decl., ¶ 23–24. As a result, claim 4 is indefinite.

          Typemock contends that “said set” refers to “the set of components that are ‘coupled in a

utilizing-utilized relationship’ as recited in claim 1,” but the claim language nor the specification

supports such a construction. Orso Decl., ¶ 25. To the contrary, claim 1 recites “a plurality of

software components, at least some of which are coupled in a utilizing-utilized relationship.”

(emphasis added). Claim 1 provides no indication which of the “plurality of” or “at least some

of” software components the “set” in claim 4 refers to.

          G.       “[3] computational apparatus for [4] at least partially isolating” 11 (’923 patent,
                   claims 1, 18, 30; ’041 patent, claims 1, 9)

          Neither the claims, nor the specification, provide any reasonable measure by which a

person of ordinary skill in the art could understand the meaning behind the terms of degree

captured in the phrase “at least partially isolating.” Orso Decl., ¶ 26. The patent must contain

some objective baseline by which a term of degree used in the claim language can be interpreted.

See Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364, 1371–73 (Fed. Cir. 2014). Again,

Typemock’s counsel has informed Telerik that these terms need no construction (and it has

offered none), because a jury would understand the words.

          “At least partially” combines two different terms of degree, “at least” and “partially.”

Outside of the abstract, the term “at least” is not defined in the specification at all. “Partially”

also does not appear in the specification. Without support, a person of ordinary skill is left with


11
     Also, “at least partially isolate” / “selectively at least partially isolate.”
                                                       16
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the claim language itself, which is no guide to the claim’s scope. Considering claim 1 for

example, the claim recites a “computational apparatus for at least partially isolating, from within

the software application, at least one coupled software component . . . .” ’923 patent, claim 1. In

other words, “at least one coupled software component” must be “at least partially isolate[ed].”

Nothing in the remainder of the claim explains what “at least partially isolating” means. Without

that guidance, a person of ordinary skill in the art would not understand, with reasonable

certainty, the scope of the claim (Orso Decl., ¶ 26), and it is indefinite. See, e.g., Geneva

Pharms., Inc. v. GlaxoSmithKline PLC, 349 F.3d 1373, 1384 (Fed. Cir. 2003) (finding that a

claim term is indefinite where an accused product “might or might not infringe depending on its

usage in changing circumstances.”).

       Claim 30 of the ’923 patent adds an additional term of degree, reciting “selectively at

least partially isolate.” As with “at least partially isolate,” the claims offer no explanation and

the specification is silent on any objective bounds for “selectively,” providing an independent

basis for finding that claim indefinite. Orso Decl., ¶ 26.

       H.      “a plurality of software components, at least some of which are [1] coupled in a
               utilizing-utilized relationship” (’923 patent, claims 1, 30; ’041 patent, claims 1, 9)

       The specification lacks disclosure to explain the scope encompassed by “software

components” that are “coupled,” as recited in the claim. Orso Decl., ¶ 27. The word “coupled”

does not even appear in the specification outside of the abstract, which provides no other hint as

to what the word is supposed to mean. Moreover, Typemock has indicated it does not intend to

provide any explanation for the term, telling Telerik the word just means what it says.

       During prosecution of the ’923 patent, the Examiner rejected the claims as being

indefinite where they referred to “highly coupled,” because the term was not “particularly

described in the originally filed specification,” and noted that “the term is a relative term which


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hinders a determination of the proper scope.” Ex. D, Non-final Office Action, App. No.

12/442,948 (Nov. 28, 2011), at 4. Although the Examiner focused on the term “highly coupled”,

in the context of computer programming, “coupled” itself is a term of degree, which describes

“the manner and degree of interdependence between software modules.” See Ex. E,

ISO/IEC/IEEE 24765:2010(en) (Systems and Software Engineering – Vocabulary), at 3.657

(defining “coupling” in the context of systems and software engineering) (emphasis added); 12 see

also Ex. F, IEEE 100: The Authoritative Dictionary of IEEE Standards Terms – “coupling” (7th

ed. 2000) (same); Orso Decl. ¶ 28.

       Where the claim language uses terms of degree, the specification must provide some

objective baseline by which a person of ordinary skill in the art can interpret the scope

contemplated by the term of degree. See Interval Licensing LLC v. AOL, Inc., 766 F.3d 1364,

1371–73 (Fed. Cir. 2014). Because the specification here does not provide sufficient objective

bounds by which to understand what it means for components to be “coupled,” including to what

degree they are “coupled”—the specification doesn’t use the term at all—the asserted

independent claims are indefinite. Orso Decl. ¶ 27–28.

       I.      “a plurality of software components, at least some of which are [1] coupled in a
               [2] utilizing-utilized relationship” 13 (’923 patent, claims 1, 4, 9, 26, 32, 34, 39,
               48; ’041 patent, claims 1, 9)

       “Utilizing,” “utilized,” and “utilizing-utilized” are not terms with any specialized

meaning in the software field, and the specification contains no guidance by which a person of

ordinary skill in the art could understand their meaning with reasonable certainty. Typemock

contends that the terms require no construction.



12
  Available at https://www.iso.org/obp/ui/en/#iso:std:iso-iec-ieee:24765:ed-1:v1:en.
13
    Also, “utilizing software component” / “utilized software component” / “utilizing-utilized
software components.”
                                                   18
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        Recitation of “utilizing-utilized” elements does not describe the scope of the invention to

a person of ordinary skill in the art with reasonable clarity. Orso Decl. ¶ 29. The terms

“utilizing,” “utilized,” and “utilizing-utilized” do not appear in the specification at all. The term

“utilizes” appears but once in the specification, in an entirely different context than the term is

used in the claim. ’923 patent at 1:44–46 (“In order to isolate the components, there is a need to

design the program that utilizes the software components in such a way that the components can

be changed.”).

        Without more specific definition—and none is provided in the record—a person of

ordinary skill in the art is left unable to determine what parts of an accused product can be

identified as being in a “utilizing-utilized relationship,” or be identified individually as “utilized”

or “utilizing.” Orso Decl. ¶ 30.

        J.       “introducing, prior to execution, [5] code elements for runtime access of [6]
                 application points” (’923 patent, claims 1, 30; ’041 patent, claims 1, 9)

        The claims and specification fail to provide bounds on the meaning of the term

“application points” that can be understood by a person of ordinary skill in the art. Orso Decl.,

¶ 31. Once again, Typemock has stated that it intends to provide no construction for the term.

        The claims require that the “application points” be “associated with” a software

component (see, e.g., ’923 patent at claim 1), but never explain what an “application point” is.

The specification fairs no better, as the term is not used there, nor is there any disclosure by

which a person of ordinary skill in the art could understand the term. Because “application

points” is not a term of art and is undefined in the specification, the asserted independent claims

are indefinite. Orso Decl., ¶ 31.

        K.       “an associated behavior inducing message” (’923 patent, claim 18)

        Claim 18 recites:


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              18. A system according to claim 1 wherein said apparatus for testing is
              operative to generate a plurality of expectations each of which
              comprises an identity of an individual component from among the
              plurality of software components and an associated behavior inducing
              message inducing said apparatus for at least partially isolating, when
              said individual component is called, to selectively at least partially
              isolate, and to impose a fake behavior upon, the individual component.

        The patent provides no disclosure from which a person of ordinary skill in the art would

understand the bounds of “an associated behavior inducing message.” Yet, Typemock informed

Telerik that no construction is necessary.

        The only reference to any “messages” at all is with reference to the ability of the “mock

framework[’s]” ability to send messages to the “tracer.” ’923 patent at 8:39–40 (“FIG. 9 show

the Mock framework 110 sending messages to the tracer 112 process.”). But, “[t]he tracer 112 is

typically used to debug and graphically display the methods that are mocked,” as opposed to

performing any type of function that would be understood by a person of ordinary skill in the art

to induce behavior, which is further described in claim 18. ’923 patent at 4:32–33. Without any

guidance from the claims or specification, a person of ordinary skill in the art would be unable to

understand the scope of “an associated behavior inducing message,” especially where the

specification’s only reference to “messages” is contrary to the way that term is used in the claim.

Orso Decl., ¶ 32.

        L.      “wherein imposing includes removing or replacing an [7] expected behavior of
                the at least one coupled software component during runtime” (’923 patent,
                claim 1)

        The claims and specification do not explain to a person of ordinary skill in the art what an

“expected behavior” is, as the term is used in the claim 1 of the ’923 patent. Again, Typemock

states that it will provide no construction for this term.

        Claim 1 of the ’923 patent recites, inter alia, “removing or replacing an expected

behavior of the at least one coupled software component during runtime.” The specification
                                                  20
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does not describe what it means for a “coupled software component” to have an “expected

behavior.” Without sufficient guidance from the specification, a person of ordinary skill in the

art would not understand the scope of the claim language, and the claim should be found

indefinite. Orso Decl., ¶ 33.

       3.      Telerik’s Constructions of the Disputed Claim Terms Reflect the
               Understanding of a Person of Ordinary Skill in the Art.

       Telerik has identified other terms appearing in the dependent claims and the independent

claims from which the asserted claims depend that should be construed in order to aid the jury in

intelligently answering the questions it will be asked to consider during trial. Sulzer Textil A.G.,

358 F.3d at 1366. Typemock, for its part, again merely contends that each of the terms requires

no construction at all, and has stated it intends to offer no alternative construction.

       With reference to exemplary independent claim 1, those terms appearing in the

independent claims include:

                                        ’923 Patent, Claim 1
            A software testing system operative to test a software application comprising
       a plurality of [13] software components, at least some of which are coupled in a
       utilizing-utilized relationship the system comprising:
       a processor and memory:
       computational apparatus for at least partially isolating, from within the software
            application, at least one coupled software component which performs a given
            function by [14] introducing, prior to execution, code elements for runtime
            access of application points associated with the at least one coupled software
            component, wherein at least one code element associated with the at least one
            coupled software component provides access control between utilizing-
            utilized software components;
       computational apparatus for testing the software application by [15] imposing a
            fake behavior on the at least one coupled software component, wherein
            imposing includes removing or replacing an expected behavior of the at least
            one coupled software component [16] during runtime; and wherein the at
            least one code element is operative to query said computational apparatus for
            testing.

       M.      “test a software application comprising a plurality of [13] software components”
               (’923 patent, claims 1, 30; ’041 patent, claims 1, 9)


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       “Software components” are “discrete portions of the production code capable of being

isolated and changed.” They play a central role in the Applicant’s purported invention. The

claims themselves do not provide sufficient context by which a person of ordinary skill in the art

could understand the scope of the term.

       The specification, in summarizing the invention, explains how “software components” is

used in the context of these patents. First, the software components must be capable of being

isolated. ’923 patent at 1:47–51 (“Testing isolated software components gives better testing

results as the coverage of the tests is much higher and the complexity does not grow

exponentially.”). Second, the isolated components must be capable of being changed. ’923

patent at 1:52–54 (“In order to isolate the components, there is a need to design the program that

utilizes the software components in such a way that the components can be changed.”) In

describing the purported invention, the specification goes on to explain exactly what it is that is

“isolated” and “changed”—the production code. ’923 patent at 4:23–27 (“The production code

base 106 is the code that is to be isolated. . . . The test code 108 calls the Mock framework 110 in

order to change the behavior of the production code.”). Orso Decl., ¶ 34. In this software-heavy

case, Telerik’s proposed construction explains to the jury the bounds of the term software

components, as it would be understood by a person of ordinary skill in the art in a manner

consistent with the claims and specification.

       N.      “at least one coupled software component which performs a given function by
               [14] introducing, prior to execution, code elements” 14 (’923 patent, claims 1,
               30; ’041 patent, claims 1, 9)

       “Introducing, prior to execution” means “inserting into production code, before the

software application is run.” The claims themselves define the purported invention in part with


14
   Also, “introducing, prior to execution of the software application” / “introducing into the
software application, prior to execution of the software application.”
                                                 22
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reference to two conditions, events that occur before the software application is run (“prior to

execution”) and events that occur while the software application is being run (“during runtime”).

See, e.g., ’923 patent, claim 1. The specification provides further support, noting that:

                 There are several ways in which it is possible to insert code 107
                 into production code 106 such as but not limited to the following:
                 (a) Change the executable on disk before running the tests, (b) Use
                 System IO Hooks to change the executable just before reading it
                 from the disk, (c) Use function hooking techniques, (d) Use
                 RunTime ClassLoader hooks to change the code before it is run,
                 and (e) Use Profiler and Debug API's to change the code 302
                 before it is loaded as indicated by arrow 306 in FIGS. 3-4.

’923 patent at 4:36–49 (emphasis added). This disclosure summarizes the only methods that are

taught in the specification that would be understood by a person of ordinary skill in the art to

correspond to the “introducing . . . ” term, and each of them involves insertion into production

code before the software application is run. Orso Decl., ¶ 35.

          O.     “computational apparatus for testing the software application by [15] imposing a
                 fake behavior on the at least one coupled software component” 15 (’923 patent,
                 claims 1, 30; ’041 patent, claims 1, 9)

          “Imposing a fake behavior” means “causing, during runtime, a change from the normal

operation of the at least one software component.” Typemock’s construction explains the

meaning of the claim term as it would be understood by a person of ordinary skill in the art in a

manner that would be helpful to the jury in evaluating infringement and finds support in the

language of the claim itself. “Imposing a fake behavior,” as recited, occurs when the software

application is under test, which is only ever described as occurring “during runtime” of the

software application. See, e.g., ’923 patent, claim 1; Orso Decl., ¶ 36. Telerik’s construction is

thus consistent with the claim language and would be helpful to the jury in evaluating

infringement.


15
     Also, “impose a fake behavior.”
                                                 23
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       P.       “wherein imposing includes removing or replacing an expected behavior of the at
                least one coupled software component [16] during runtime” (’923 patent, claims
                1, 30; ’041 patent, claims 1, 9)

       “During runtime” means “while the software application is running.” It is important to

connect the term “during runtime” to the specific part of the claim it is referring to in order to

help the jury evaluate infringement, especially since the claims at issue are lengthy and require

many different computer-related elements. Here, while “during runtime” is not referred to in the

specification directly, the specification explains what is happening in the claimed system “during

runtime.” The specification does refer to “run time system 102,” explaining that it is the system

that actually runs the code and the tests, which “could be an operating system, a scripting system

or a virtual machine (as in Java or .NET).” ’923 patent at 4:12-15. Telerik’s construction spells

out in simpler terms what a person of ordinary skill in the art would understand—in order for the

recited tests to be run, the software application that is itself under test necessarily must also be

running. Orso Decl., ¶ 37.

       Q.       “at least one expectation is generating by recording an actual call” (’923
                patent, claim 24)

       Claim 24 recites: “[a] system according to claim 18 wherein at least one expectation is

generating by recording an actual call to at least said individual component.” The term means

“using a call associated with normal operation of the production code to generate an

expectation.”

       The specification discloses that “Natural Mocks use the actual calls to the methods that

are to be mocked. The Framework may be called by these calls (because all the methods are

already weaved) and the framework may record that the call is expected, and add it to the list of

expectations.” ’923 patent at 6:65–7:2. While “natural mock recorder 520” lacks sufficient

description in the specification, Figure 7 and the associated explanation in the specification


                                                  24
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demonstrates that, in the use-case of natural mocking, the mock framework 110 and natural

mock recorder 520 receive a call that is associated with normal operation of the production code

(106) in order to generate an expectation 710. See ’923 patent at FIG. 7; 7:21–42; see also id. at

7:43–45 (“When Natural Mocks are used, the arguments passed to the recording method are used

to validate the arguments, unless explicitly overridden.”). Orso Decl., ¶ 38. Telerik’s

construction reflects that understanding of the claim term, and would be helpful to the jury in

explaining the scope of the claim.

       R.      “without dependency injection” (’923 patent, claim 30)

       Claim 30 of the ’923 patent recites, in part, a “computational apparatus for testing the

software application by removing or replacing a behavior of at least said at least partially isolated

coupled software component during runtime, without dependency injection, wherein said

apparatus for testing is operative to generate a plurality of expectations . . . .” (emphasis added).

The term means “without relying on a provider of some capability or resource being inserted.”

       “Dependency objection” is unequivocally defined in the specification. In describing the

invention, the Applicant specifically disclaimed any “conventional” definition of the term

“dependency injection” and instead substituted its own definition. ’923 patent at 1:24–31. Thus,

the specification notes that while “[c]onventional [i]nternet sources” may describe “dependency

injection” one way, the Applicant was careful to point out that “[t]he term ‘Dependency

injection’ is a misnomer, since it is not a dependency that is injected, rather it is a provider of

some capability or resource that is injected.” Id. Telerik’s construction mirrors this language,

explaining that the claimed requirement of “without dependency injection” requires “without

relying on a provider of some capability or resources being inserted.” Orso Decl., ¶ 39.




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IV.    CONCLUSION

       Telerik respectfully requests that the Court adopt findings that certain claim terms, as set

forth above, are indefinite. Further, Telerik requests that the court adopt its proposed claim

constructions.




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Dated: April 20, 2018                           Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent

electronically to the registered participants as identified on the Notice of Electronic filing on

April 20, 2018.


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